       Case 2:19-cr-01199-SMB Document 30 Filed 06/16/20 Page 1 of 1




 1
 2
 3
 4
 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF ARIZONA
 8
 9                                                           CR-19-01199-PHX-SMB
     United States of America,
10
                     Plaintiff,                                       ORDER
11
            vs.                                                   (First Request)
12
     Jesse Don Moquino,
13
                     Defendant.
14
15                  Upon motion of the defendant, no objection from the government and good
16   cause appearing,
17                  IT IS HEREBY ORDERED continuing the sentencing hearing of this case
18   from June 22, 2020, to August 3, 2020, at 2:30 p.m. in Phoenix, Arizona. The Court finds
19   that the interests of justice outweigh the best interest of the public and the defendant in a
20   speedy trial for the reasons stated in defendant’s motion.

21            The Court finds excludable delay under 18 U.S.C. § 3161(h) _____ from _____to

22   _____.

23            Dated this 16th day of June, 2020.

24
25
26
27
28
